           Case 1:19-cv-08767-VEC Document 58 Filed 10/16/20 Page 1 of 1


                                                                          USDC SDNY
UNITED STATES DISTRICT COURT                                              DOCUMENT
SOUTHERN DISTRICT OF NEW YORK                                             ELECTRONICALLY FILED
                                                                          DOC #:
 -------------------------------------------------------------- X         DATE FILED: 10/16/2020
                                                                :
 GUSTAVO PENATE, on behalf of others similarly :
 situated                                                       :
                                              Plaintiff,        :
                                                                :       19-CV-8767 (VEC)
                            -against-                           :
                                                                :            ORDER
                                                                :
 DBTG CHAMBERS LLC, JOSEPH CIRIELLO, :
                                                                :
                                                                :
                                              Defendants. :
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VALERIE CAPRONI, United States District Judge:

        WHEREAS a show cause hearing in this case was held on October 16, 2020;

        IT IS ORDERED THAT:

             1. Defendant’s time to answer is STAYED.

             2. A referral to the Magistrate Judge for a settlement conference will be entered

                 separately.

             3. A copy of this order, information about the pro se clinic, information about

                 electronic notifications on ECF, and information about e-mailing pro se filings to

                 the Clerk’s office will be emailed and mailed to Mr. Ciriello by chambers.

                 Further information can be found at: https://nysd.uscourts.gov/prose.




SO ORDERED.
                                                              _________________________________
Date: October 16, 2020                                              VALERIE CAPRONI
      New York, NY                                                United States District Judge


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